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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

AMYRIS, INC., et al.,                                  Case No. 23-11131 (TMH)

                                                       (Jointly Administered)
          Debtors.1
                                                       Hearing Date: October 3, 2023 at 9:30 a.m.

               LAVVAN, INC.’S OPPOSITION TO MOTION TO QUASH
                    NOTICE OF DEPOSITION OF JOHN DOERR,
         AND CROSS-MOTION TO EXCLUDE TESTIMONY OF OKSANA WRIGHT

          Lavvan, Inc. (“Lavvan”) respectfully submits this memorandum in opposition to the recent

motion (Dkt. 417) by the Foris Parties and John Doerr, seeking to quash the Deposition Notice of

John Doerr (Dkt. 367), noticed for October 3, 2023 (“Motion to Quash”), and the Debtors’ Joinder

to the Motion to Quash (Dkt. 418). Lavann also cross-moves to exclude Debtors’ belatedly

identified witness, Oksana Wright, at the upcoming October 4 hearing (the “Cross Motion”).

                                                  ARGUMENT

          1.       The Motion to Quash and the Cross Motion arise in connection with the upcoming

continued hearing on the Debtors’ DIP motion, in which Debtors and the Foris parties seek to

prime Lavvan by $190 million.

          2.       At the second-day hearing on September 14, 2023, the Court recognized that

Debtors’ and Foris’s requested relief raised “a number of issues” that “require development,”2 and

directed the parties to engage in discovery and further briefing, with a continued hearing to take

place on October 4 (tomorrow).



1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
2
  Hr’g Tr. 109:21-110:4, Sept. 14, 2023.


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         3.        On September 19, the Court entered an expedited schedule, with the parties to

disclose their respective “anticipated witnesses who will be made available for deposition” by

Thursday, September 21; exchange of documents and service of opening expert reports by Friday,

September 22; service of rebuttal expert reports by Tuesday, September 26; complete depositions

and discovery by Thursday, September 28; submit simultaneous opening briefs due Friday,

September 29; submit witness and exhibit lists on Monday, October 2; and submit responsive

briefs by noon on Tuesday, October 4.

         4.        Lavvan has fully complied with its discovery obligations under the Court’s

Scheduling Order, while Debtors and the Foris parties have largely flouted theirs.

                   a. September 21 deadline for disclosure of witnesses who will be made available

                      for deposition: Because the Court excluded the intent of the Subordination

                      Agreement as an issue to be presented at the continued hearing (at the Debtors’

                      urging), Lavvan had no anticipated witnesses to identify and make available for

                      deposition. Debtors identified two witnesses: Elizabeth Dreyer (Debtors’ Chief

                      Accounting Officer) and Theodore Martens (proffered expert witness). Then,

                      on September 25, Debtors withdrew Ms. Dreyer as a witness and belatedly

                      identified Han Kieftenbeld (Debtors’ Chief Financial Officer and Interim Chief

                      Executive Officer) in her stead. Rather than burden the Court with objections

                      to the belated disclosure, Lavvan adapted and forged ahead with

                      Mr. Kieftenbeld’s deposition four days later. Then, on October 2 (i.e.,

                      yesterday), the Debtors identified an additional purported witness, Oksana

                      Wright (Amyris, Inc.’s VP, Head of Compliance and Litigation). The Foris

                      parties identified no witnesses.



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                   b. Exchange of documents by September 22: Given the issues to be presented at

                      the hearing and the exclusion of intent as one of those issues, the relevant

                      documents are principally in the possession, custody, and control of Debtors

                      and the Foris parties. Lavvan nonetheless conducted a diligent search and

                      produced its responsive documents, in addition to propounding reasonable

                      requests for documents and information to Debtors and Foris.3 In response,

                      Debtors produced just 126 documents, consisting largely of copies of contracts

                      and regulatory filings. The Foris parties remarkably produced no documents

                      whatsoever. Debtors and Foris both refused to answer Lavvan’s requests to

                      identify people who participated in relevant communications. Debtors’

                      126-document production is clearly missing wide swaths of relevant

                      information. It contains no emails whatsoever (beyond those attached as

                      exhibits to minutes and resolutions), and it contains no communications with

                      Debtors’ auditors, even though Debtors’ deposition witnesses have made clear

                      that the matters at issue would have been discussed with the auditor (and indeed

                      that certain “Accounting File Memoranda” were prepared in consultation with

                      third-party consultants, whose communications also were not produced).

                   c. Service of Rebuttal Expert Report on September 26: The Foris parties’ motion

                      (¶ 2) oddly criticizes Lavvan for not disclosing any witnesses on September 21

                      “despite having a purported rebuttal expert.” The criticism is badly misplaced,

                      since Lavvan did not have any rebuttal expert until after receiving Debtors’


3
 While broken into 11 categories, as document requests normally are, the 9 of the 11 categories essentially asked
about two subjects: the various changes to the 2018 Foris loan and how and why it was accounted for. The only
other categories sought were documents showing adequate protection (none were produced) and documents relied
upon by Mr. Flemming in making huis declaration at the prior hearing.

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                      proffered opening expert report on Friday September 22. Despite the substantial

                      scheduling challenge, Lavvan’s rebuttal expert diligently worked through the

                      weekend and the Monday Yom Kippur holiday to timely finalize his rebuttal

                      report by the deadline of Tuesday September 26. Without a time machine,

                      Lavvan had no earlier ability (nor obligation, pursuant to the scheduling order)

                      to disclose its rebuttal expert.

                   d. Service of Deposition Notice of John Doerr on September 26: Also on

                      September 26, having worked diligently to review the documents produced on

                      September 22, Lavvan identified John Doerr as a highly relevant witness who

                      warranted deposition. The document production makes clear that Debtors’ and

                      Foris’s theory for priming Lavvan’s pre-petition security interest is premised

                      on an unusual series of related-party transactions between Amyris and Foris—

                      transactions as to which John Doerr consistently sat on both sides of the deals.

                      Indeed, the Amyris board resolutions and minutes approving those related-party

                      transactions regularly acknowledge “the relationship of Foris to John Doerr, a

                      current director of the Company, and Mr. Doerr’s potential interest in” the

                      transactions at issue, “as well as the fact that Foris beneficially owns more than

                      5% of the Company’s outstanding common stock.”4 Given the many issues

                      raised by Lavvan about whether the 2018 Foris Loan’s change in every

                      conceivable manner (loan amount, maturity date, security package, fees,

                      description of interest rate, etc.), the fact that all of these amendments took place

                      with Mr. Doerr on both sides of the transaction raises questions of fact. Despite


4
  E.g., Action by Unanimous Written Consent of the Audit Committee of the Board of Directors of Amyris, Inc.
(July 9, 2019) [AMYRIS-DIP000214, at 214].

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                      the potentially significant scope of this issue, Lavvan limited its deposition

                      requests in this regard to a single deposition of Mr. Doerr.

                   e. Lavvan’s Accommodation of Debtors’ Requests on Deposition Scheduling:

                      Also on September 26, again promptly upon reviewing Debtors’ document

                      production and proffered expert report, Lavvan proposed depositions of

                      Debtors’ witnesses to take place by the Court-ordered deadline of

                      September 28. The next day, September 27, Debtors responded proposing

                      depositions for September 28 (Martens), September 29 (Kieftenbeld), and

                      October 2 (Gaul). Again, despite the Court-ordered deadlines, Lavvan

                      accommodated Debtors’ proposal in the interest of reasonable cooperation

                      where possible. It is nothing short of shocking that after asking Lavvan to take

                      and defend depositions after the Court ordered deadline, which Lavvan

                      accommodated, the Debtors joined Foris’s Motion to Quash and chastised

                      Lavvan for also seeking a deposition after the Court ordered deadline.

The Foris Parties’ Motion to Quash Lacks Merit

         5.        Lavvan promptly noticed John Doerr’s deposition just days after receiving Debtor’s

production of documents and identifying him as a clearly relevant witness who was at the center

of series of related-party transactions at issue. Every step in the baroque series of transactions at

issue here—which include, among others, (i) a series of unsecured and subordinated transactions

that were later purportedly transformed into secured transactions, (ii) a series of warrant issuances

and warrant price-reductions, (iii) a “Warrant Exercise and Debt Equitization Agreement” that

involved the selective purported extinguishment of certain debts between the parties and not

others, and (iv) a seemingly breached commitment to equitize additional portions of the parties’



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debt—involves a deal in which Mr. Doerr stood on both sides. Cf. Lavvan’s Opening Brief at 25-

30.

         6.        Debtors’ only proffered fact witness (identified four days after the deadline) did

not even join Amyris until March 2020, after most of the relevant transactions had already taken

place. Lavvan has not been given access to any competent witness regarding those transactions.

Given the foregoing, Foris’s complaint that Mr. Doerr’s testimony would be “cumulative” of other

witnesses is plainly wrong.

         7.        Again, Lavvan identified Mr. Doerr promptly upon receiving the documents, and

duly provided adequate, 7-days’ notice for his deposition to take place prior to the October 4

continued hearing. See Local Rule 7030-1(b). Lavvan could not realistically have acted more

promptly upon receipt of the documents. (Sunday night, September 24 and Monday, September

25, was Yom Kippur.)

         8.        The Foris Parties and Doerr, for their part, decided to run out the clock. They made

no response at all for more than 5 days, first reaching out to request a call about the deposition at

approximately 7:00 p.m. Sunday, October 1, and not stating (until the undersigned asked) until

approximately 9:00 p.m. that the subject was that they intended to Move to Quash and demanding

that Lavvan voluntarily withdraw its notice. Had the Foris’ Parties’ real objection been the

September 28 deadline, Lavvan would have been happy to schedule the deposition earlier, on less

than the 7 required days under the Local Rule. But by tactically waiting until Sunday night to raise

the issue, that possibility was off the table.

         9.        Particularly given that Debtors first identified Mr. Kieftenbeld after 8 p.m. Eastern

on September 25, the criticism of the timing of Lavvan’s notice of Mr. Doerr’s deposition, served

less than 24 hours later, is misplaced.



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         10.       Mr. Doerr’s deposition was duly noticed, and his testimony is squarely relevant.

Either Mr. Doerr should be directed to sit for deposition, or the Court should make an adverse

inference that his testimony would not have supported Debtors’ and Foris’s position and would

have supported Lavvan’s.

         11.       As to the argument that no one identified Mr. Doerr as a hearing witness, nothing

whatsoever in the Local Rules, the Federal Rules or this Court’s order limits the ability of a party

to seek discovery to witnesses at trial; the exact opposite is true. Nor has Lavvan sought numerous

depositions. It seeks exactly one deposition of a non-hearing witness.

         12.       The Foris Lenders also argue that Lavvan should have subpoenaed Mr. Doerr.

Lavvan respectfully submits that a principal of the DIP lender who seeks $190 million of priming,

of the pre-petition lender, a member of the Debtors’ board of directors, and a 30% stockholder of

the Debtors is ill suited to argue that he is beyond the reach of this Court.

Debtors’ Belatedly Identified Witness Should Be Excluded

         13.       Remarkably, even as the Foris Parties, joined by Debtors, criticize Lavvan’s

September 26 deposition notice as untimely, Debtors just yesterday purported to identify, for the

first time, a new witness to testify at the October 4 hearing.

         14.       In response, Lavvan asked Debtors’ counsel what that witness (Oksana Wright,

Amyris, Inc.’s VP, Head of Compliance and Litigation) would testify about—and Debtors’ counsel

refused to say, only commenting (a) that she is a lawyer, and (b) Lavvan should know who she is

since she attended the arbitration (for the record, Lavvan does not know who she is and the fact

that she attended but was not a witness at arbitration is irrelevant).

         15.       In stark contrast to Lavvan’s prompt identification of a witness outside its control

for deposition immediately upon recognizing his relevance from the document production,



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Debtor’s belated disclosure of one of its own executives as a proffered witness less than 48 hours

before the hearing is plainly improper and should not be countenanced.

         16.       Such belated disclosure from Debtors is particularly problematic given that the

purported urgency behind the continued hearing is entirely of Debtors’ and Foris’s own making.

After having argued out of one corner of their mouths that Lavvan does not have a valuable security

interest, they have meanwhile elected to hold the DIP-approval process hostage by insisting that

the DIP Orders include the Court-ordered non-consensual priming of Lavvan. If the parties’

contracts truly provide for Lavvan’s subordination as Debtors and Foris contend, they would not

need the Court to so rule now on a premature and still under-developed record. If Foris is correct,

the Court can reach that conclusion on a properly developed record in due course, under which

Foris can obtain no less (and no more) than whatever it is entitled to by contract. The only purpose

of forcing the issue now is to try to unduly pressure the Court under the auspices that Lavvan’s

non-consensual priming is somehow a condition to DIP funding – even though, at the exact same

time, the Debtors introduced evidence at the last hearing for the proposition that, in their opinion,

Lavvan’s collateral package has very little value.

         17.       Having unduly imposed onerous constraints on Lavvan and on the Court through

their demand for non-consensual priming—something they did not even seek and in fact expressly

disclaimed in their original DIP Motion and at the First Day Hearing —Debtors should not be

permitted to further prejudice Lavvan through the last minute disclosure of a hearing witness. Ms.

Wright’s testimony should not be permitted.




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                                          CONCLUSION

         For all of the reasons set forth herein, the Motion to Quash should be denied and the Cross-

Motion to exclude should be granted.



Dated: October 3, 2023
                                                      Respectfully submitted,

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